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                                                                                                                        ABRAHAM J. ZAGER (1941-1999)
                                                                                                                       LAWRENCE M. FUCHS (1970-2020)
                                                                                                                                ANDREW W. KRANTZ
                                                                                                                             MICHAEL T. WARSHAW*
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                                                                                                                                    JASON L. WYATTÀ

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                                                                                                                       ALBERT A. ZAGER, OF COUNSEL

                                                                                                                                *ADMITTED TO THE NEW YORK BAR
                                                                                                                  CERTIFIED AS ARBITRATOR AND MEDIATOR, R.1:40

                                                                                                                          **ADMITTED TO THE PENNSYLVANIA BAR
                                                                                                                               QUALIFIED FAMILY LAW MEDIATOR
                                                                                                                                        REGISTERED GUARDIAN

                                                                                                                                           À LL.M. IN TAXATION



 March 11, 2025



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 RE:         Vision Industries v. ACU Plasmold
             Case No. 2:18-cv-6296

 Dear Mr. Cukor and Ms. Donegan:

             As you know, there is presently an outstanding motion for sanctions (filed by you on

 behalf of Plaintiff against Defendant) which has not yet been ruled upon. In support of that

 motion you submitted a declaration from Mark Lanterman (Doc No. 259-1).                                                                    That

 declaration includes more than one verifiable misstatement.

             For example, in his declaration Mr. Lanterman swears, “I completed my post

 graduate work in cybersecurity at Harvard University.” Doc No. 259-1, at ¶ 5, p.2. In his

 testimony in a May 02, 2017 deposition in Lanterman v. Stillman (Fourth Judicial District

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 Court, Minnesota) at p. 5 (of 162), Mr. Lanterman testified: “Q. Have you completed any

 education after college, formal education for a degree? A. Certifications but not additional

 degrees.” In fact, Mr. Lanterman’s had no courses at Harvard; he took a single “Online

 short course” administered through GetSmarter® in April of 2018. The program awards

 a digital certificate, is worth no college credit, and there are no undergraduate

 prerequisites. Registrants are advised, ‘As a Harvard Online participant . . . you will not be

 considered a Harvard student. When you earn your certificate or credential, you will not be

 considered a Harvard alum,’ and that it should be cited on résumés, including LinkedIn, as

 ‘Certificate Programs,’ and ‘Harvard Online.’”

             Mr. Lanterman is a complete fraud and any real accomplishments on his resume

 were a direct result of the false information he has been touting for years. But you know

 all of this since you received the same information which we received.

             Plaintiff submitted the declaration; it is Plaintiff’s duty to inform the court of any false

 information submitted to the court under oath. As you advised my predecessor in an email

 to our local counsel on January 26, 2024:

             The above representations to the Court appear to be false and, if so, as an
             officer of the Court, you have an obligation to correct them.

             "(a) A lawyer shall not knowingly: (4) offer evidence that the lawyer knows to
             be false. If a lawyer has offered material evidence and comes to know of its
             falsity, the lawyer shall take reasonable remedial measures” N.J. Ct. R. app
             3 R. 3.3

             The Third Circuit has stated that "a party [and its counsel] acts in good faith
             where it acts with reasonable haste to investigate the problem and to take
             available steps toward remedy." Kohl's Dep't Stores, 121 Fed. Appx. at 976.


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             Please confirm that you are available for a meet and confer about the above
             at 2:00 today (or anytime thereafter).

             Please be prepared to explain the apparent inconsistency or how you intend
             to proceed.

             When you confirm your availability, I will send a dial in number for the call.

             I look forward to resolving this issue with you without further escalation.

             [From: Michael Cukor <mcukor@mcgearycukor.com>
             Date: Fri., Jan 26, 2024 at 10:47 A.M.
             Subject: Fwd: Opposition to motion to Sanctions]

             That rule applies to all lawyers practicing law in New Jersey. It seems to be your

 habit to point out other lawyers’ perceived transgressions and to excuse your own. Such

 behavior is not only unprofessional; it is unethical. RPC 3.3(a)(1), (2), (4), (5) and (b) and

 © requires it. The rule states:

             RPC 3.3 Candor Toward the Tribunal
             (a) A lawyer shall not knowingly:
             (1) make a false statement of material fact or law to a tribunal;
             (2) fail to disclose a material fact to a tribunal when disclosure is necessary
             to avoid assisting an illegal, criminal or fraudulent act by the client;
             ***
             (4) Offer evidence that the lawyer knows to be false. If a lawyer has offered
             material evidence and comes to know of its falsity, the lawyer shall take
             reasonable remedial measures; or
             (5) fail to disclose to the tribunal a material fact knowing that the omission is
             reasonably certain to mislead the tribunal, except that it shall not be a breach
             of this rule if the disclosure is protected by a recognized privilege or is
             otherwise prohibited by law.
             (b) The duties stated in paragraph (a) continue to the conclusion of the
             proceeding, and apply even if compliance requires disclosure of information
             otherwise protected by RPC 1.6.

             As was noted by Justice, LaVecchia: "[a] misrepresentation to a tribunal ‘is a most

 serious breach of ethics because it affects directly the administration of justice.’"

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 Kosmowski v. Atlantic City Med. Ctr., 175 N.J. 568, 577 (2003). As noted by a leading

 commentator, RPC 3.3(a) applies to issues of not only substantive aspects of the case, but

 to procedural and case management aspects as well. Michels & Hockenjos, New Jersey

 Attorney Ethics, §30:2-2(b) at 500 (GANN, 2025).

             This will be your last chance to do the right thing. If you have not informed the court

 by the end of business on March11, 2024, we will be forced to do your job for you. Thank

 you for your attention to this issue.

 Very truly yours,

 /s/   Michael T. Warshaw
 Michael T. Warshaw

 MTW:kp

 cc:         Edward Miller, Esq.




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